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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



JOEL GOLDMAN,                                   )
                                                )   Case No. 1:05 CV 0035
        Plaintiff,                              )
                                                )   Hon. Paul L. Maloney
v.                                              )
                                                )
HEALTHCARE MANAGEMENT                           )
SYSTEMS, INC. and THOMAS E.                     )
GIVENS,                                         )
                                                )
        Defendants.                             )

______________________________________________________________________________


     DEFENDANTS' SECOND AMENDED WITNESS LIST FOR DAUBERT HEARING

        On March 14, 2008, at 5:23 p.m., this Court issued an Order which, among other things,

struck Defendants' Amended Motions in Limine/Daubert Motions on Plaintiff's Experts. Based

on the effect of the March 14 Order, Defendants hereby amend their witness list to indicate that

they will not call either Glenn Perdue or Paul Agee to testify at the Daubert hearings. The

Court's March 14 Order effectively removed some issues from consideration at the currently

scheduled Daubert hearings, and the foregoing witnesses were going to be testifying regarding

some of those issues. In light of the Court's Order, their testimony is no longer needed for

purposes of the March 18-20 Daubert hearings.

        Defendants reaffirm the balance of their initial March 4 witness list, as modified by the

amended witness list filed by Defendants on March 12, 2008.
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                                   Respectfully submitted,

                                   VARNUM, RIDDERING, SCHMIDT and
                                   HOWLETT, LLP

DATED: March 17, 2008        By:             /s/ Richard A. Kay
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                               CERTIFICATE OF SERVICE

      I hereby certify that on March 17, 2008, I electronically filed the foregoing, Defendants'
Second Amended Witness List For Daubert Hearing, with the Clerk of the Court using the
ECF system which will send notification of such filing to the following:

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